        Case 4:21-cv-00033-ALM Document 4-9 Filed 02/09/21 Page 1 of 1 PageID #: 381


AO 399 (01/09) Wa,i.er of!M Sn-"tct' ofSUUllDOll'i



                                         ÜNITED STATES DISTRICT COURT
                                                                         for the
                                                               Eastern Distnct of Texas

                         Tlmothy Jackson                                         )
                              Plamnlf                                            )
                                V.                                               )      Civil Action No. 4:21-cv-00033
                        Laura Wright, et al.                                     )
                             Defendanr                                           )


                                                WAIVER OF THE SERVICE OF SL')fälO~S

To: Jonathan F. Mltchell
         (Name ofthe plamnjf's anorney or 1mrepresented plarnnff)

       I have received your request ro waive serv1ce of a sunllll0JlS m tlus action aJong wirb a copy of tbe complaint.
two copies of this waiver fonn. aud a prepa1d means of returulllg one s1gned copy of the fonn to you.
           I. or the entity I represent. agree to save the expense of serving a s111runons aud complaint in this case

         I understand tbat 1. or the enttty I represent. wiJI keep all defense~ or obJecnons to tbe lawsuit. the court's
jurisdiction. and rhe venue of tbe act1on. but that I waive any obJect100s to tbe absence of a summons or of service.
        I also tlllderstand that I. or the entity I represent. musr file and serve an answer or a mouoo wider Rule 12 wtthin
60 days from                01/14/2021              . the date wben tlus request was seot (01 90 days 1f 1t was sent outside tbe
United Stares). If I fail to do so. a default judgn1ent will be entered agamst me or the entlty I represent.

Date: January 21, 2021                                                                    Matthew Bohuslav Digitally signed by Matthew Bohuslav
                                                                                                           Date: 2021.02.05 14:51:17 -06'00'
                                                                                                   S1gnan1re of the anomey or 11nrepres1mted parry
                                                                                                               Matthew Bohuslav
        Pnnred name ofpart)• wamng se1V1ce ofsummons                                                                  Pnntedname
                                                                                                  Office of the Attorney General

l~ 1lr1l                                                                                          P.O. Box 12548, Capitol Station
                                                                                                  Austin, TX 78711
                                                                                                                         A.ddress
                                                                                                 matthew. bohuslav@oag.Lexas.gov
                                                                                                                     E-marl address
                                                                                                                  512.475.4099
                                                                                                                   Telephone n11mber

                                              Duty to A,oid Cuuttt'ssar~       EXpt'DWS   o( Sn'1u& • Summous

          Rulc: 4 of thc: F c:dc:ral Rulc:s ofCivil Procc:durc: rc:qmrc:s cc:rtaw dc:fc:ndants 10 coopc:ratc: Ul sa, ing tulllecessary e,cpenses ofsernn~ a summons
and complaint A dcfcndant who is locatcd w thc Uruted Stares and who faih 10 rcnun a s11t0ed watver of sc:rvice rc:quested by a plawhff locared in
the United States will bc rc:qmrc:d to pay thc: c:xpenses of sen,1cc. Wllc:ss the defcndant shows good cause for the failurc.

          "Good cause„ does not mcludc: a bchef tbat the lawsuit is g;roundlcss. or that it has bceo brought Ulan in1proper vc:nue, or that the cowi has
no Jurisdicrion o\"er this matter or over tbc defendant or thc: defendant's property.

             If the waiver 1s s11t0ed and rc:tumc:d. you can still mal.:e thcse and all other defc:nses and objections. but you cannot obJect to the abscnce of
a Slllllllloos or of service,

           Ifyou wa1ve servicc:. thc:n youmust. \\ithin the tune Spt'cified on the waiver form. sen,·e an answc:ror a motton twder Rule l:! on tbc: plaintiff
and filc n copy with the coul1 By signinJ and returoing the wa1vcr fonn. you arc allowed morc tw1e 10 respood than 1f a Sllllllltons had been scrved


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